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                                               July 2, 2025


      VIA ECF

      Hon. Elizabeth A. Pascal, U.S.M.J.
      Mitchell H. Cohen Bldg. & Courthouse
      4th and Cooper Streets
      Camden, New Jersey 08101


               Re:      Atlantic Subsea, Inc., v Northern Divers USA, Inc., et al.
                        Civil No. 23-198 (KMW/EAP)

                        Northern Divers USA, Inc. v. Atlantic Subsea, Inc., et al.
                        Civil No. 24-8279 (KMW/EAP)

      Dear Judge Pascal:

             This firm is local counsel for Xylem Dewatering Solutions, Inc. (“XDS”) in the
      above-referenced Civil No. 24-8279, which is currently being managed with the above-
      referenced Civil No. 23-198. Pursuant to the Scheduling Order filed on May 9, 2025, the
      deadline to serve initial written discovery requests is July 2, 2025.

              On June 25, 2025, Plaintiff Northern Divers USA, Inc. (“Northern Divers”) and
      XDS entered into a settlement in principle. As a result, Northern Divers and XDS
      respectfully request that Your Honor extend the deadline to serve initial discovery requests
      for 30 days, to August 1, 2025.

              Additionally, XDS’ Motion to Dismiss the First Amended Complaint (the “Motion
      to Dismiss”) (Dkt. No. 56), which is currently pending before your Honor, is returnable on
      July 7, 2025. Plaintiff and XDS respectfully request that Your Honor adjourn the return
      date of XDS’ Motion to Dismiss to August 4, 2025, to allow the parties sufficient time to
      finalize the settlement.
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             Should the Court have any questions regarding this submission, please do not
     hesitate to have your staff contact me.

                                               Respectfully submitted,

                                               David Michael Fabian

                                               DAVID MICHAEL FABIAN


     DMF/iaf
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